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                 Exhibit E
                        to
           Defendant’s Notice of Removal
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       Eric Lopez Schnabel
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       Jessica D. Mikhailevich
       DORSEY & WHITNEY LLP
       51 West 52nd Street
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       Telephone: (212) 415-9200
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       Email: mikhailevich.jessica@dorsey.com

       Attorneys for Premier Gold Mines
       Limited

       UNITED STATES BANKRUPTCY COURT
       SOUTHERN DISTRICT OF NEW YORK
       In re                                                             Chapter 11

       MIAMI METALS I, INC., et al.,1                                    Case No.: 18-13359 (SHL)
                                                                         (Jointly Administered)
                                       Debtors.

                                NOTICE OF RULE 30(b)(6) DEPOSITION


            PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(6) of the Federal Rules of Civil

   Procedure, as incorporated by Rules 7030, 9014, and 9016 of the Federal Rules of Bankruptcy

   Procedure, and the First Amended Order Approving Uniform procedures for Resolution of

   Ownership Disputes [ECF No. 913], parties in interest herein, Premier Gold Mines Limited

   (“Premier Gold”) will take the testimony upon oral examination of Crowe Horwath LLP, through


   1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
   number, include: Miami Metals I, Inc. (f/k/a Republic Metals Refining Corporation), 15 West 47th Street, Suites 206
   and 209, New York, NY 10036 (3194), Miami Metals II, Inc. (f/k/a Republic Metals Corporation), 12900 NW 38th
   Avenue, Miami, FL 33054 (4378), Miami Metals III LLC (f/k/a Republic Carbon Company, LLC), 5295 Northwest
   163rd Street, Miami Gardens, FL 33014 (5833), Miami Metals VIII LLC (f/k/a Republic High Tech Metals, LLC),
   13001 NW 38 Avenue, Miami, FL 33054 (6102), Miami Metals VI LLC (f/k/a RMC Diamonds, LLC), 12900 NW
   38th Avenue, Miami, FL 33054 (1507), Miami Metals VII LLC (f/k/a RMC2, LLC), 12900 NW 38th Avenue, Miami,
   FL 33054 (4696), Miami Metals IV LLC (f/k/a J & L Republic LLC), 12900 NW 38th Avenue, Miami, FL 33054
   (7604); Miami Metals V LLC (f/k/a R & R Metals, LLC), 12900 NW 38th Avenue, Miami, FL 33054 (7848), Republic
   Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China (1639), and
   Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero Edificio Central,
   Delegación Cuauhtémoc, Mexico DF 6000 (2942)..




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   a person with knowledge of information known or reasonably available to the organization

   regarding the matters set forth at Exhibit A in the subpoena served upon the organization, before

   a notary public who is not an attorney, or employee of an attorney, or any party or prospective

   party herein, and is not a person who would be disqualified to act as a juror because of interest or

   because of consanguinity or affinity to any party herein, on Thursday, June 20, 2019 at 10:00 a.m.

   at the offices of Dorsey & Whitney LLP, located at 51 W. 52nd Street, New York, New York

   10019. Said examination will continue day-to-day until completion. The attached subpoena

   contains requests for production of the documents identified in Exhibit B thereto at such

   deposition.


   Dated: New York, New York
          May 14, 2019


                                                         DORSEY & WHITNEY LLP

                                                         By: /s/ Daniel P. Goldberger
                                                         Eric Lopez Schnabel, Esq.
                                                         Daniel P. Goldberger, Esq.
                                                         Jessica D. Mikhailevich, Esq.
                                                         DORSEY & WHITNEY LLP
                                                         51 West 52nd Street
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                                                         Telephone: (212) 415-9200
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                                                         Email: goldberger.dan@dorsey.com
                                                         Email: mikhailevich.jessica@dorsey.com

                                                         Attorneys for Premier Gold Mines Limited




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                                    CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on the 14th day of May, 2019, I served the
   foregoing electronically and via first class United States mail, postage prepaid, to the following:

    Akerman LLP                                       Luskin Stern & Eisler LLP
    Yelena Archiyan, Esq.                             Richard Stern
    John E. Mitchell, Esq.                            Eleven Times Square
    2001 Ross Avenue, Suite 3600                      8th Avenue & 41st Street
    Dallas, TX 75201                                  New York, NY 10036
    yelena.archiyan@akerman.com                       stern@lsellp.com
    john.mitchell@akerman.corn
                                                      Cooley LLP
    Ackerman LLP                                      Seth Van Aalten
    Katherine C. Fackler, Esq.                        Robert Winning
    Joanne Gelfand, Esq.                              1114 Avenue of the Americas
    Andrea Hartley, Esq.                              New York, NY 10036
    98 Southeast Seventh Street, Suite 1100           svanaalten@cooley.com
    Miami, FL 33131                                   rwinning@cooley.com
    katherine.fackler@akerman.corn
    joanne.gelfand@akerman.com                        Office of the United States Trustee
    andrea.hartley@akerman.com                        Attn: Shannon Scott, Esq.
                                                      U.S. Federal Office Building
                                                      201 Varick Street, Suite 1006
                                                      New York, NY 10014
                                                      shannon.scott2@usdoj.gov




                                                      /s/ Daniel P. Goldberger
                                                      Eric Lopez Schnabel, Esq.
                                                      Daniel P. Goldberger, Esq.
                                                      Jessica D. Mikhailevich, Esq.
                                                      DORSEY & WHITNEY LLP
                                                      51 West 52nd Street
                                                      New York, New York 10019
                                                      Telephone: (212) 415-9200
                                                      Facsimile: (212) 953-7201
                                                      Attorneys for Premier Gold Mines Limited




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                                       UNITED STATES BANKRUPTCY COURT
               6RXWKHUQ
  _________________________________________                      1HZ<RUN
                                            District of _________________________________________
        0LDPL0HWDOV,,QFHWDO
In re __________________________________________
                                    Debtor
                                                                                                 
                                                                                      Case No. _____________________
          (Complete if issued in an adversary proceeding)
                                                                                                
                                                                                      Chapter ___________
_________________________________________
                                    Plaintiff
                         v.                                                           Adv. Proc. No. ________________
__________________________________________
                                  Defendant

                                        SUBPOENA TO TESTIFY AT A DEPOSITION
                                 IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
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  To: ________________________________________________________________________________________
       )HG5&LY3 E  PDGHDSSOLFDEOHWRWKLVSURFHHGLQJSXUVXDQWWR)HG5%DQNU3DQG
                                                           (Name of person to whom the subpoena is directed)

  ; Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a deposition to
  be taken in this bankruptcy case (or adversary proceeding). If you are an organization, you must designate one or more
  officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about the following
  matters, or those set forth in an attachment: 6HH([KLELW$DWWDFKHGKHUHWR

  PLACE                                                                                                        DATE AND TIME
  7KHRIILFHVRI'RUVH\ :KLWQH\//3:QG6WUHHW1HZ<RUN1<                                   7KXUVGD\-XQHDWDP

  The deposition will be recorded by this method:
        Court Reporter
  ; Production: You, or your representatives, must also bring with you to the deposition the following documents,
  electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:
    6HH([KLELW%DWWDFKHGKHUHWR
          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.

         
  Date: _____________
                                    CLERK OF COURT

                                                                                      OR
                                    ________________________                                  V'DQLHO*ROGEHUJHU
                                                                                              ________________________
                                    Signature of Clerk or Deputy Clerk                             Attorney’s signature


  The name, address, email address, and telephone number of the attorney representing (name of party)
  ____________________________
   3UHPLHU*ROG0LQHV/LPLWHG           , who issues or requests this subpoena, are:
   'DQLHO*ROGEHUJHU'RUVH\ :KLWQH\//3:QG6WUHHW1HZ<RUN1<JROGEHUJHUGDQ#GRUVH\FRP
                        Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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                                                                                                  J  3DJH     07/25/2019 Page 6 of 26


                                                             PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

■ I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .



          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                               ________________________________________________
                                                                                                           Server’s signature

                                                                               ________________________________________________
                                                                                                         Printed name and title


                                                                               ________________________________________________
                                                                                                            Server’s address


Additional information concerning attempted service, etc.:
%Case   1:19-cv-23100-DPG                S Document S1-11               Entered   \ on FLSD
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                                                                                                  J  3DJH        07/25/2019 Page 7 of 26

                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                                                 EXHIBIT A


            You are hereby commanded to appear at the time, date, and place set forth in the Subpoena

   to testify at a deposition regarding the following matters:

                      Any audits, physical inventory counts, or inventory reports, regarding the

                      Debtors’ assets, produced or performed from January 1, 2014 to present.




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                                                EXHIBIT B


                                       DOCUMENTS REQUESTED


          You are hereby commanded to produce all of the following documents, as defined below,
   which are in your possession or under your control:

            1.        Any and all documents and communications with the Debtors and/or Senior
                      Lenders concerning or relating to any physical inventory count of the Debtors’
                      assets that was conducted from January 1, 2014 to present;

            2.        Any and all inventory reports You prepared for and produced to the Debtors or
                      Senior Lenders from January 1, 2014 to present;

            3.        Any and all documents and communications relating to any audits You performed
                      of the Debtors’ assets, including inventory, from January 1, 2014 to present; and

            4.        Any and all documents and communications relating to the metals originating from
                      Premier Gold Mines Limited, including, but not limited to, documents and
                      communications concerning or relating to the following customer or pool account
                      number 3544, from January 1, 2014 to present.




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                                                 DEFINITIONS

             For the purposes of the foregoing, unless specifically indicated otherwise, the following

    terms shall have the indicated meanings:

             1.        “Communicate” or “communication” means and is defined to include every manner

    of disclosure or exchange, and every disclosure or exchange, of information, whether orally or by

    document or whether face-to-face, by telephone, mail, personal delivery, facsimile, e-mail, voice

    mail, or otherwise.

             2.        “Concerning” shall mean in whole or in part, and directly or indirectly, referring to,

    relating to, connected with, commenting on, responding to, showing, describing, analyzing,

    reflecting, constituting, embodying and mentioning.

             3.        “Debtors” means Miami Metals I, Inc.             (f/k/a Republic Metals Refining

    Corporation), 15 West 47th Street, Suites 206 and 209, New York, NY 10036; Miami Metals II,

    Inc. (f/k/a Republic Metals Corporation), 12900 NW 38th Avenue, Miami, FL 33054; Miami

    Metals III LLC (f/k/a Republic Carbon Company), 5295 Northwest 163rd Street, Miami Gardens,

    FL 33014; Miami Metals IV LLC (f/k/a J & L Republic LLC), 12900 NW 38th Avenue, Miami,

    FL 33054; Miami Metals V LLC (f/k/a R & R Metals, LLC), 12900 NW 38th Avenue, Miami, FL

    33054; Miami Metals VI LLC (f/k/a RMC Diamonds, LLC), 12900 NW 38th Avenue, Miami, FL

    33054; Miami Metals VII LLC (f/k/a RMC2, LLC), 12900 NW 38th Avenue, Miami, FL 33054;

    Miami Metals VIII LLC (f/k/a Republic High Tech Metals, LLC), 13001 NW 38 Avenue, Miami,

    FL 33054; Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District,

    Shanghai, P.R. 200001 China; and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero

    No. 55 Piso 5, Local 409, Centro Joyero Edificio Central, Delegación Cuauhtémoc, Mexico DF

    6000.




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             4.        “Document” or “documents” is to be defined and applied in response to these

    requests in the broadest possible sense and shall have the same scope and meaning as is set forth

    and applied in the Federal Rules of Civil Procedure, the Federal Rules of Bankruptcy Procedure,

    and the Federal Rules of Evidence. Without limiting the generality of the foregoing, the terms

    “document” and “documents” are defined and means the original, drafts, revisions, and non-

    duplicate copies (including drafts and copies bearing notations or marks not found on the original

    or other copies) of any written, typed, printed, recorded, magnetic, graphic, electronic, or other

    form of memorialization or communication, and specifically including without limiting the scope

    of the definition, all of your internal memoranda, notes, calendars, memos, messages (including

    notes and memoranda of telephone conversations), photographs, drawings, audiotapes, videotapes,

    films, minutes, diaries, reports, computer records, tapes, discs, e-mails or other computer files of

    any kind, correspondence, records, invoices, purchase orders, agreements, checks, and all other

    writings, recordings, or information sources of whatever description, irrespective of the author or

    sender of such document and whether or not such documents are claimed to be privileged against

    discovery on any ground.

             5.        “Relating to” or “relates to” means, without limitation, discussing, embodying,

    mentioning, concerning, pertaining, referring or relating directly or indirectly to the subject matter

    identified in the interrogatory or request.

             6.        “Senior Lenders” means Coöperatieve Rabobank U.A., New York Branch, Brown

    Brothers Harriman & Co., Bank Hapoalim B.M., Mitsubishi International Corporation, ICBC

    Standard Bank Plc, Techemet Metal Trading LLC, Woodforest National Bank and Bank Leumi

    USA.




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             7.        “You” or “your” means the party to whom this discovery is directed, its agents,

    officers, directors, employees, representatives, or attorneys acting on behalf of you.

             8.        The term “or” includes “and.”

             9.        The term “any” includes “all.




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                                              INSTRUCTIONS

             1.        The documents covered by this request include all documents in your possession,

    custody or control.

             2.        Each request for the production of documents shall be deemed to be continuing in

    nature. If at any time additional documents come into your possession, custody or control or are

    brought to your attention, prompt supplementation of your response to these requests is required.

             3.        You shall produce all documents in the manner in which they are maintained in the

    usual course of your business and/or you shall organize and label the documents to correspond

    with the categories in this request.

             4.        If and to the extent documents are maintained in a database or other electronic

    format, you shall produce along with the document(s) software that will enable access to the

    electronic document(s) or database as you would access such electronic document(s) or database

    in the ordinary course of your business.

             5.        Documents shall be produced in such fashion as to identify the department, branch

    or office in which they were located and, where applicable, the natural person in whose possession

    it was found and the business address of each document’s custodian(s).

             6.        Any document withheld from production based on a claim of privilege or any

    similar claim shall be identified by (a) the type of document, (b) the general subject matter of the

    document, (c) the date of the document, and (d) such other information as is sufficient to identify

    the document including the author of the document, the addressee of the document, and, where not

    apparent, the relationship of the author and the addressee to each other. The nature of each claim

    of privilege shall be set forth.

             7.        Documents attached to each other should not be separated.




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             8.        Documents not otherwise responsive to this discovery request shall be produced if

    such documents mention, discuss, refer to, or explain the documents that are called for by this

    discovery request.

             9.        The fact that another party produces a document does not relieve you of the

    obligation to produce your copy of the same document, even if the two documents are identical.

             10.       In producing documents and other materials, you are requested to furnish all

    documents or things in your possession, custody or control, regardless of whether such documents

    or materials are possessed directly by you or your directors, officers, agents, employees,

    representatives, subsidiaries, managing agents, affiliates, accountants, investigators, or by your

    attorneys or their agents, employees, representatives or investigators.

             11.       If you object to any part of any request, you shall state fully the nature of the

    objection. Notwithstanding any objections, you shall nonetheless comply fully with the other parts

    of the request not objected to.

         12.           Each document request shall be construed independently and not with reference to

    any other document request for the purpose of limitation.




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